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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )
               vs.                             )                8:01CR101
                                               )
MARVIN MILLER,                                 )                 ORDER
                                               )
                      Defendant.               )


         The defendant’s Motion to Continue [488] is granted.
         IT IS ORDERED that the preliminary hearing regarding the Report on Offender
Under Supervision [482] is continued to April 19, 2006 at 2:00 p.m. before Magistrate
Judge Thomas D. Thalken, Courtroom No. 7, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
         Since this is a criminal case, the defendant must be present unless excused by the
Court.
         DATED this 17th day of March, 2006.
                                           BY THE COURT:


                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
